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Case: 1:20-cv-01856 Document #: 1 Filed: 03/18/20 Page 2 of 19 PageID #:2
Case: 1:20-cv-01856 Document #: 1 Filed: 03/18/20 Page 3 of 19 PageID #:3
Case: 1:20-cv-01856 Document #: 1 Filed: 03/18/20 Page 4 of 19 PageID #:4
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